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                           IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
                                     DUBLIN DIVISION

UNITED SPECIALTY INSURANCE
COMPANY,

           Plaintiff,

v.

E-Z AUTO SALES, LLC, CESAR PEREZ,
ALEXANDER LOPEZ VAZQUEZ,
                                                              Case No. 3:18-cv-00066-DHB-BKE
QUANARIEK ROBERSON, SAFEPAY
AUTOBROKERS, LLC, OSEAS
MARTINEZ, WALL STREET
INTERMODAL, LLC, KELLY LITTLE,
and GREAT WEST CASUALTY
COMPANY,

           Defendants.


                  STIPULATION OF DISMISSAL WITHOUT PREJUDICE

           Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, it is hereby

stipulated and agreed by and between the Plaintiff and the Defendants 1 that the above-

captioned action is hereby dismissed without prejudice. Each party will bear their own

costs.

           This 18th day of March, 2019.



                                   [Signatures on the following page.]




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    Defendants E-Z Auto Sales, LLC and Alexander Lopez Vazquez are in default (Doc. 28 and 30).
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing Stipulation of Dismissal Without Prejudice was

electronically filed with the Clerk of Court using the Court’s CM/ECF system. Electronic service

has been provided to the following counsel of record:

                                     Jeremy S. McKenzie
                                    Nicholas Shelton Evans
                                       Dennis B. Keene
                                       John Bell Manly
                                     Tracy C. O’Connell


       This 19th day of March, 2019.

                                                    /s/ David A. Harris
                                                    Ga. State Bar No. 668708
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